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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE


                                                          )
 In re:                                                   ) Chapter 11
                                                          )
 WARDMAN HOTEL OWNER, L.L.C.                              ) Case No. 21-10023 (JTD)
                                                          )
                                 Debtor.                  )
                                                          )


                                  CERTIFICATE OF SERVICE



                 I, Timothy P. Cairns, hereby certify that on the 28th day of May, 2021, I caused a

copy of the following document(s) to be served on the individuals on the attached service list(s)

in the manner indicated:

                 Notice of Motion of the Debtor to Permit Debtor to Consent to Termination
                 of Certain Customer Contracts and Provide Releases Pursuant to 11 U.S.C.
                 §§ 105(a) and 363(a) and Bankruptcy Rule 9019; and

                 Motion of the Debtor to Permit Debtor to Consent to Termination of Certain
                 Customer Contracts and Provide Releases Pursuant to 11 U.S.C. §§ 105(a)
                 and 363(a) and Bankruptcy Rule 9019


                                                      /s/ Timothy P. Cairns
                                                      Timothy P. Cairns (DE Bar No. 4228)




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